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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

TARA RHODES,

                 Plaintiff,

v.                                                 Case No: 2:17-cv-379-FtM-38CM

SAFECO INSURANCE COMPANY
OF ILLINOIS,

               Defendant.
                                          /

                                  OPINION AND ORDER1

         This matter comes before the Court on Plaintiff Tara Rhodes’ Motion to Remand

for Lack of § 1332(a) Diversity Jurisdiction. (Doc. 8). Defendant Safeco Insurance

Company of Illinois has not filed a response, and the time to do so has expired. Thus,

this matter is ripe for review.

                                     BACKGROUND

         This is a suit for uninsured motorist benefits. (Doc. 2). Rhodes was injured in a

car accident with an uninsured motorist. Safeco insured Rhodes’ car, and the policy

included uninsured motorist coverage. After receiving $10,000 from the other driver’s

insurance company, Rhodes filed this suit for uninsured benefits on March 9, 2017, in the



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not affect the opinion of the Court.
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Circuit Court of the Twentieth Judicial Circuit in and for Lee County, Florida. (Doc. 1 at

¶ 1; Doc. 2). The Complaint does not specify the amount of damages, but it provides that

Rhodes’ injuries include “bodily injury and resulting pain and suffering, disability,

disfigurement, medical and nursing care and treatment, loss of earnings, loss of ability to

earn money and aggravation of a previously existing condition.” (Doc. 1 at ¶ 8). The

Complaint also alleges that Rhodes’ “losses are either permanent or continuing in nature

and [she] will suffer such losses in the future.” (Id.).

       Rhodes served Safeco in April 2017. (Id. at ¶¶ 1-2). Three months later, Safeco

removed the case to this Court, citing diversity jurisdiction as the basis for removal.

Safeco based removal on Rhodes’ answer to a request for admission. Rhodes now

moves to remand the case.

                                        DISCUSSION

       A defendant may remove a civil case from state to federal court if the federal court

has original jurisdiction. See 28 U.S.C. § 1441(a). To have original jurisdiction, there

must be complete diversity of citizenship between the parties and the amount in

controversy must exceed $75,000. See id. § 1332(a). Because the parties do not dispute

that they are citizens of different states, the only relevant issue is whether the amount in

controversy exceeds $75,000. As the party seeking removal, Safeco bears the burden

of establishing jurisdiction. See Lowery v. Ala. Power Co., 483 F.3d 1184, 1207 (11th

Cir. 2007).

       Pursuant to 28 U.S.C. § 1446(b)(1), a defendant may remove a civil action by filing

a notice of removal within thirty days of receipt of the initial pleading. If the case is not

removable based on the initial pleading, the defendant may file a notice of removal within




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thirty days of receipt “of a copy of an amended pleading, motion, order, or other paper

from which it may first be ascertained that the case is one which is or has become

removable.”   28 U.S.C. 1446(b)(3).      Because removal jurisdiction raises significant

federalism concerns, “[t]he removal statute should be construed narrowly with doubt

construed against removal.”       Diaz v. Sheppard, 85 F.3d 1502, 1505 (11th Cir.

1996) (quoting Shamrock Oil & Gas Corp. v. Sheets, 313 U.S. 100, 107-09 (1941)).

       Safeco removed this action under 28 U.S.C. § 1446(b)(3), which governs removal

after receipt from the plaintiff of an “other paper” demonstrating the existence of federal

jurisdiction. A defendant removing under this prong cannot establish the existence of

federal jurisdiction without providing facts. See Lowery, 483 F.3d at 1215. Labels and

unsupported legal conclusions will not carry the day. See Williams v. Best Buy, 269 F.3d

1316, 1319-20 (11th Cir. 2001).

       Here, Safeco argues the amount in controversy exceeds $75,000 because

Rhodes’ responded in a request for admission that this case exceeds the jurisdictional

threshold. (Doc. 1-4). This is alone insufficient. In Parrish v. Sears, Roebuck, & Co., No.

8:10-cv-1684-T-23MAP, 2010 WL 3042230 (M.D. Fla. July 30, 2010), a slip and fall call,

the court remanded and explained the following:

              neither the notice of removal nor the complaint . . .
              provide any underlying fact supporting the conclusion
              that the plaintiff suffered damages in excess of the
              jurisdictional amount. The sole evidence of the
              jurisdictional amount is an unsupported and
              speculative response to a request for admissions.
              Although the admission qualifies as an “other paper”
              under 28 U.S.C. § 1446(b) and activates the thirty-day
              removal limitation, the admission, which is a mere
              conclusion, (1) provides no factual basis to support the
              jurisdictional amount (that is, provides no basis for the
              damages claimed) and (2) fails to relieve the removing




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              party of the obligation to establish facts supporting the
              existence of federal jurisdiction

Id. at *1; Eckert v. Sears, Roebuck & Co., No. 8:13-cv-2599-T-23EAJ, 2013 WL 5673511,

at *1 (M.D. Fla. Oct. 17, 2013) (stating “a plaintiff's mere concession that the amount-in-

controversy exceeds $75,000 is insufficient”). This Court likewise finds that Rhodes’

generic admission does not satisfy Safeco’s burden. Rhodes’ unspecific allegation on

her injuries and her demand for the policy limits does not convince the Court that

jurisdictional requirements have been met. Rhodes’ admission does nothing more than

state a legal conclusion and enjoys no factual support in the Notice of Removal or the

Complaint. See also Eckert, 2013 WL 5673511, at *1 (“Allowing the parties to invoke

jurisdiction by merely claiming in concert that the amount-in-controversy exceeds the

jurisdiction requirement is tantamount to allowing the parties to consent to removal

jurisdiction.” (internal quotation and citation omitted)); Bienvenue v. Wal-Mart Stores,

East, LP, No. 8:13-cv-1331-T-33TGW, 2013 WL 5912096, at *1 (M.D. Fla. June 19, 2013)

(finding the defendant failed to establish the jurisdictional requirement based on the

plaintiff’s generic admission). Accordingly, the Court remands this case for lack of subject

matter jurisdiction.

       Accordingly, it is now

       ORDERED:

       (1) Plaintiff Tara Rhodes’ Motion to Remand for Lack of § 1332(a) Diversity

           Jurisdiction (Doc. 8) is GRANTED.

       (2) The Clerk of Court is DIRECTED to transmit a certified copy of this Order to the

           Clerk of the Circuit Court of the Twentieth Judicial Circuit in and for Lee County,

           Florida.




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      (3) The Clerk of Court is DIRECTED to terminate pending motions and deadlines,

         and close the case.

      DONE and ORDERED in Fort Myers, Florida this 31st day of July, 2017.




Copies: All Parties of Record




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